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i=oR THE DisTRicT oF TENNEssEE 05 AUG ~2 PH 3= 05
WEs'rERN DivisioN

uNiTED sTATEs oi= AiviERicA * G£§!$D%; §§T§§J;PYBT
Piaintiir, * '

v. * Crim. No. 02-20165-D

ALviN iRWiN ivioss, *
Defendant. *

 

PREL|M|NARY ORDER OF FORFE|TURE

 

ln indictment Number 02-20165~0, the United States sought forfeiture of specific
property of defendant A|vin inivin l\/ioss pursuant to 18 U.S.C. §1963. On Juiy 14, 2005, the
defendant entered a plea of guilty to a substantive violation of the RlCO statute, 18 U.S.C.
§1962, as charged in Count1 of the indictment The defendant also agreed to forfeit to the
United States the sum of twelve million dollars ($12,000,000.00) in satisfaction of his
forfeiture liability as charged in the forfeiture provision of the indictment
Accordingiy, it is ORDERED:

1. Based upon the defendants plea of guilty as to Count1 of indictment Number
02-20165-0, the United States is authorized, subject to the terms and conditions of this
order, to seize the following property belonging to defendant Aivin lnivin |Vioss, and his
interest in it is hereby forfeited to the United States for disposition in accordance with the
iaw, subject to the provisions of 21 U.S.C. §853(n) and Ruie 32.2 of the Federai Ru|es of

Crimina| Procedure:

 
 
 

This document entered on the docket sh t
with Ruie ss auditor az(b) Fnch on

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a. The Sum of Twe|ve l\/lillion Do|iars in U.S. Funds
($12,000,000.00);
b. Any and all assets of Alvin lnivin Moss currently

held by lnversiones i-iaas, S.A.; Servicios de
Soporte al Turismo, S.A.; or by Luis-Enrique
Viilalobos, Osvaldo Vil|a|obos, or Freddy
Vil|alobos individual|y; or by any other company
controlled by them (the “Vi|la|obos claims”) to the
extent that either the defendant or the United
States is able to recover those assets.

2. Pursuant to the plea agreement between the parties, the $12 million in U.S.
funds referred to in Paragraph 1a (“the forfeited property") shall be deposited into the
registry of the Court, and will be held therein until ali the terms of the plea agreement have
been met and no contingencies remain. At that time, the United States may move to have
the forfeited property transferred to the United States Nlarshal to be held in his secure
custody, or, as may be necessary, the Attorney General may appoint a substitute custodian.

3. Pursuant to 21 U.S.C. § 853(n)(1), the United States iVlarshai shall publish at
least once a week for three successive weeks in a newspaper of general circulation in
Shelby County, Tennessee, notice of this order, notice of the United States’ intent to
dispose of the property in such manner as the Attorney General or his delegate may direct,
and notice that any person, other than the defendant, having or claiming a legal interest in
any of the above-listed forfeited property must file a petition with the court within thirty (30)
days of the final publication of notice or of receipt of actual notice, whichever is earlier. This
notice shall state that the petition shall be for a hearing to adjudicate the validity of the

petitioner's alleged interest in the property, shall be signed by the petitioner under penalty

of perjury, and shall set forth the nature and extent of the petitioner's right, title or interest

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in each of the forfeited properties and any additional facts supporting the petitioner‘s claim
and the relief sought The United States lVlarshal or his delegate may use the attached
Legal Notice.

The United States may also, to the extent practicable, provide direct written notice
to any person known to have alleged an interest in property that is the subject of this
Preliminary Order of Forfeiture, as a substitute for published notice as to those persons so
noHHed.

4. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preliminary Order of Forfeiture
shall become final as to the defendant at the time of sentencing and shall be made part of
the sentence and included in the judgment

5. if no third party files a timely claim, this Order shall become the Fina| Order
of Forfeiture, as provided by Fed. R. Crim. P. 32.2(0)(2).

6. The United States shall have clear title to the Subject Property following the
Court's disposition of all third-party interests, or, if none, following the expiration of the
period provided in 21 U.S.C. § 853(n)(2), which is incorporated by 18 U.S.C. § 982(b) and
28 U.S.C. § 2461(0), for the filing of third party petitions.

7. The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).

iT is so oRoERED this _Z¢£day of @J._Q 2005.

 

U `ted States District Judge

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PRESENTED BY:

TERRELL L. HARR|S
United States Attorney

/’/MVM

isToPHER’E coTTEN
ssi istant United States Attorney

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lN THE UN|TED STATES D|STRiCT COURT
FOR THE DISTRlCT OF TENNESSEE
WESTERN D|V|S|ON

UNlTED STATES OF A|VlER|CA *

Plaintiff, *
v. * Crim. No. 02-20165-D
ALV|N lRWlN MOSS, *

Defendant. *

 

LEGAL NOTlCE

 

Take notice that on . the United States District Court
for the Western District of Tennessee, Western Division, entered a Preliminary Order of
Forfeiture ordering that all right, title and interest of the defendant A|vin lnivin Moss in the
following property be forfeited to the United States to be disposed of in accordance with law:

1. The sum of twelve million dollars ($12,000,000.00) in U.S.
funds

2. Any and all assets of Alvin lnivin Moss currently held by

lnversiones Haas, S.A.; Servicios de Soporte al Turismo, S.A.;

or by Luis-Enrique Villalobos, Osvaldo Villalobos, or Freddy

Villalobos individually; or by any other company controlled by

them (the “Vi|la|obos claims") to the extent that either the

defendant orthe United States is able to recover those assets.
The United States intends to dispose of this property in such matter as the Attorney General
or his delegate may direct. Any personl otherthan the defendant, having or claiming a legal
interest in the above-listed forfeited property must file a petition with the Court within thirty

(30) days of the final publication of this notice or of receipt of actual notice, whichever is

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earlier. The petition shall be for a hearing to adjudicate the validity of the petitioner‘s
alleged interest in the property, shall be signed by the petitioner under penalty of perjury,
and shall set forth the nature and extent of the petitioners right, title, or interest in each of
the forfeited properties and any additional facts supporting the petitioner’s claim and relief

sought

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 576 in
case 2:02-CR-20165 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

